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 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                     No. CR S-02-0213-MCE-CMK

12                   Respondent,

13             vs.                                 FINDINGS AND RECOMMENDATIONS

14   ELIAS MIGUEL BERRERA-MEDINA,

15                   Movant.

16                                             /

17                   Movant, a federal prisoner proceeding pro se, brings this motion to correct or set

18   aside a criminal judgment pursuant to 28 U.S.C. § 2255. Pending before the court is

19   respondent’s motion to dismiss (Doc. 392 in the criminal docket) movant’s motion as time-

20   barred.

21

22                                          I. BACKGROUND

23                   On May 28, 2003, a jury returned verdicts of guilty on a multi-count indictment

24   filed against movant and seven others. Petitioner was sentenced to 295 months in prison on

25   August 12, 2003. On July 7, 2005, the Ninth Circuit Court of Appeals issued a decision

26   affirming the convictions by remanding for the district court to consider re-sentencing pursuant

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 1   to United States v. Ameline, 409 F.3d 1073 (9th Cir. 2005). See United States v. Barrera-

 2   Medina, 139 F. App’x 786 (9th Cir. 2005). On March 14, 2006, the district court declined to

 3   alter the original sentence. On September 25, 2006, the Ninth Circuit Court of Appeals

 4   summarily affirmed the district court’s sentence. See United States v. Barrera-Medina, 202 F.

 5   App’x 282 (9th Cir. 2006). Movant did not seek certiorari in the United States Supreme Court.

 6   The instant § 2255 motion was filed on August 19, 2009.

 7

 8                                           II. DISCUSSION

 9                  Motions under 28 U.S.C. § 2255 must be filed within one year from the later of:

10   (1) the date the judgment of conviction became final; (2) the date on which an impediment to

11   filing created by governmental action is removed; (3) the date on which a constitutional right is

12   newly-recognized and made retroactive on collateral review; or (4) the date on which the factual

13   predicate of the claim could have been discovered through the exercise of due diligence. See 28

14   U.S.C. § 2255. Typically, the statute of limitations will begin to run on the date the judgment of

15   conviction became final. See 28 U.S.C. § 2255(1); see also United States v. Schwartz, 274 F.3d

16   1220, 1223 (9th Cir. 2001). Guided by the Supreme Court’s definition of finality set forth in

17   Griffith v. Kentucky, 479 U.S. 314, 321 n.6 (1987), the Ninth Circuit has held that, for purposes

18   of a § 2255 motion, finality is determined under the definition set forth in 28 U.S.C. § 2244(d)(1)

19   for habeas corpus cases brought by state prisoners.1 Thus, the one-year statute of limitations for a

20   § 2255 motion begins to run “upon the expiration of the time during which [the movant] could

21   have sought review by direct appeal.” Schwartz, 274 F.3d at 1223.

22                  Under Federal Rule of Appellate Procedure 4(b)(1)(A), an appeal from a criminal

23   judgment must be filed within ten days after entry of judgment. Therefore, where no direct

24

25          1
                     The Ninth Circuit has also held that there is no reason to distinguish between the
     limitations periods imposed on state prisoners under § 2244(d)(1) and federal prisoners under
26   § 2255. See United States v. Battles, 362 F.3d 1195, 1196 (9th Cir. 2004).

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 1   appeal is filed, the one-year limitations period begins to run ten days after entry of the judgment

 2   of conviction. See id. If a direct appeal is filed, the conviction becomes final when the 90-day

 3   period for filing a petition for certiorari has elapsed or certiorari has been denied. See United

 4   States v. LaFromboise, 427 F.3d 680, 683 (9th Cir. 2005) (citing Griffith, 479 U.S. at 321 n.6).

 5   If the conviction became final before April 24, 1996 – the effective date of the statute of

 6   limitations – the one-year period begins to run on the effective date. See United States v.

 7   Monreal, 301 F.3d 1127, 1131 (9th Cir. 2002) (concluding that Monreals’s motion was due by

 8   April 23, 1997 – one year after April 24, 1996); see United States v. Skurdal, 341 F.3d 921, 924

 9   n.2 (9th Cir. 2003) (concluding that Skurdal’s § 2255 motion was due by April 23, 1997, because

10   his conviction became final before the effective date); but c.f. Miles v. Prunty, 187 F.3d 1104,

11   1105 (9th Cir. 1999) (concluding, in the context of a habeas corpus petition filed by a state

12   prisoner whose conviction became final before the effective date, that the one-year limitations

13   period began to run the day after the effective date). Finally, the limitations period under § 2255

14   is subject to equitable tolling where extraordinary circumstances beyond the movant’s control

15   made it impossible to file a motion on time. See United States v. Battles, 362 F.3d 1195, 1197

16   (9th Cir. 2004) (citing Laws v. Lamarque, 351 F.3d 919, 922 (9th Cir. 2003)).

17                  The parties agree that, absent equitable tolling, movant’s § 2255 motion was due

18   in late December 2007. Movant argues that he is entitled to equitable tolling because his

19   appellate counsel failed to inform him of the Ninth Circuit’s September 25, 2006, summary

20   affirmance. According to movant, appellate counsel never responded to his requests for

21   information regarding his case and that he only learned of the September 25, 2006, order after

22   contacting the court clerk. As to equitable tolling, respondent states:

23                          There is reason to doubt the facts as alleged by Petitioner. The
                    undersigned has contacted Petitioner’s appellate lawyer, Victor Haltom,
24                  who disputes Petitioner’s allegations. Further, the appellate docket
                    indicates that the Ninth Circuit informed Petitioner in October 2006 that
25                  his appeal had been summarily affirmed and sent a copy of that decision
                    directly to him. The undesigned has contacted the Clerk’s office for the
26                  Ninth Circuit which states that such a copy, while perhaps stamped

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 1                  “Prisoner,” would not necessarily be designated as legal mail. Thus, the
                    fact that Petitioner did not receive legal mail during the time period at
 2                  issue does not corroborate his assertion that he never received the
                    appellate court’s order. However, an evidentiary hearing is not necessary
 3                  to resolve these factual issues because even if the facts alleged by
                    Petitioner are true, equitable tolling is not warranted.
 4
                            ***
 5
                             Even taking Petitioner’s account as true, his intermittent efforts to
 6                  contact his lawyer are insufficient to establish reasonable diligence under
                    the circumstances. Although Petitioner did write two letters to his lawyer
 7                  before his conviction became final on December 24, 2006, he apparently
                    waited two years after his last attempt to inquire of either court or counsel
 8                  regarding the status of his case (despite not receiving any response to his
                    earlier inquiries). This conduct falls woefully short of the diligence
 9                  required to equitably toll the limitations period. (citation omitted). . . . In
                    this case, Petitioner did nothing for almost two years to determine the
10                  status of his appeal. Court’s routinely find such lackadaisical efforts
                    insufficient to toll the strict statutory limitations period in habeas cases.
11                  (citations omitted). Further, when the Ninth Circuit informed Petitioner in
                    January 2009 that his appeal had been dismissed (notwithstanding that the
12                  Ninth Circuit docket indicates that Petitioner had been notified of that fact
                    in November 2006), he waited until August 2009 to file his 2255 motion.
13                  Such a long delay further highlights Petitioner’s lack of diligence in
                    pursuing his case. (citation omitted). Regardless of appellate counsel’s
14                  alleged actions (or inaction), Petitioner’s lack of diligence forecloses the
                    possibility of equitable tolling in this case.
15

16   Respondent also argues that, even if the facts as alleged by movant regarding appellate counsel

17   are true, and even if the court finds that movant exercised due diligence, movant is still not

18   entitled to equitable tolling because counsel’s alleged conduct was not sufficiently egregious.

19   Respondent points the court to United States v. Rodriguez, 2009 WL 1424260 (E.D. Cal. 2009),

20   in which the court held, on similar facts, that movant was not entitled to equitable tolling because

21   counsel’s conduct was not sufficiently egregious.

22                  In his opposition, movant argues that counsel: (1) promised to represent him “up

23   until to certiorari to the United States Supreme Court”; (2) without any notice, counsel “severed

24   all communications with Petitioner regarding his appeal status”; (3) “deceived Petitioner into

25   believing he would file a petition of certiorari”; and (4) told movant not to discuss his case with

26   anyone. He concludes that his case is distinguishable from the cases cited in respondent’s

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 1   motion because “counsel clearly did deceive his client.” In his § 2255 motion, movant sets forth

 2   the following timeline:

 3                     September 29, 2006             Letter from movant to appellate counsel inquiring as
                                                      to the status of his appeal.
 4
                       October 30, 2006               Letter from movant to appellate counsel inquiring as
 5                                                    to the status of his appeal.

 6                     November 7, 2008               Letter from movant to appellate counsel inquiring as
                                                      to the status of his appeal.
 7
                       April 14, 2009                 Date on which movant first learned of summary
 8                                                    affirmance of sentence by Ninth Circuit.

 9   Movant also attaches to his motion a copy of the Ninth Circuit Court of Appeals’ docket sheet

10   for his appeal shoring entries between March 23, 2006, and January 13, 2009. In his opposition

11   to respondent’s motion, movant argues:

12                             For months, Petitioner sought his counsel communication to be
                       advised about the status of his case, although Petitioner tried, many times,
13                     to contact his counsel, counsel never made an attempt to contact Petitioner
                       and advise Petitioner of the abandonment of the case, preventing Petitioner
14                     from filing a timely petition.

15                     As stated above, equitable tolling of the statute of limitations imposed by § 2255

16   is available in extraordinary circumstances beyond movant’s control which made it impossible to

17   file on time. See Battles, 362 F.3d at 1197. The situation movant describes is similar to the

18   situation discussed in Battles and Ford v. Hubbard. Discussing the facts of Ford, the Ninth

19   Circuit stated:

20                     . . . In Ford, as here, the claim was untimely filed. Id. at 1105. There, as
                       here, the attorney did not deliver “the complete set” of legal papers in a
21                     timely fashion. Id. There, as here, at least a portion of the file had been
                       forwarded at an earlier time. Id.
22
                       Battles, 362 F.3d at 1197 (citing Ford, 330 F.3d 1086 (9th Cir. 2003)).
23
     In Battles, the Ninth Circuit quoted the following from Ford:
24
                       There are no cases in this circuit determining whether an attorney’s failure
25                     or refusal to provide a habeas client with important parts of his legal file
                       may rise to the level of “extraordinary circumstances” for purposes of
26                     equitable tolling. We prefer not to decide that question here, because the

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 1                   factual record is insufficiently developed . . . [T]he district court in
                     Ford’s case did not give the petitioner an opportunity to amend his petition
 2                   or expand his declaration and did not hold an evidentiary hearing.
                     Because equitable tolling issues “are highly fact-dependent, and because
 3                   the district court is in a better position to develop the facts and assess their
                     legal significant in the first instance,” we remand . . . to the district court
 4                   with instructions to develop an adequate evidentiary record before again
                     determining whether the statute of limitations should be equitably tolled.
 5
                     Id. at 1198 (quoting Ford, 330 F.3d at 1107).
 6

 7   The Ninth Circuit also remanded Battles’ case for the same reason. See id.

 8                   The court is mindful of Joe v. Mitchell, in which Judge Beck concluded that

 9   equitable tolling did not apply in a similar circumstance. See 2007 WL 1430101 (E.D. Cal. May

10   15, 2007). Judge Beck distinguished Battles and Ford because the petitioner “provides no factual

11   support that he requested the client file. . . .” See id. at *5. He also concluded that the record

12   demonstrated that petitioner “made no effort to obtain the client file until . . . well after the

13   statute of limitations expired.”

14                   The court finds that the instant case is more like Joe v. Mitchell than either Battles

15   or Ford. In Joe v. Mitchell, the court concluded that equitable tolling did not apply because the

16   movant had not demonstrated due diligence in seeking information regarding the status of his

17   case. The same is true here. Assuming all of the dates outlined by movant are accurate, the

18   timeline they establish reveals that movant did nothing between October 2006 and November

19   2008. In particular, movant made no efforts to obtain information about his case for the entire

20   year prior to the conviction and sentence becoming final in late December 2007. Moreover,

21   movant does not address the Ninth Circuit’s docket sheet which indicates that a copy of the

22   September 25, 2006, summary affirmance order was sent directly to movant on or about October

23   25, 2006. This evidence alone – which is part of movant’s motion – creates a presumption that

24   movant received notice of the Ninth Circuit’s September 2006 decision well in advance of

25   expiration of the statute of limitations in December 2007 and movant does nothing to rebut that

26   presumption.

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 1                  In addition, the court agrees with respondent that, even if appellate counsel was in

 2   fact negligent in failing to provide notification of the Ninth Circuit’s decision, such conduct does

 3   not rise to the level of “extraordinary circumstances” which prevented movant from filing his

 4   § 2255 motion on time. As discussed above, the Ninth Circuit’s docket sheet reflects that

 5   movant was provided with a copy of the September 2006 decision sometime in October or

 6   November 2006. Thus, despite counsel’s alleged conduct, movant had the ability to find out for

 7   himself the status of his case and to proceed accordingly. While movant contends that counsel

 8   intentionally deceived him, there is no evidence to support this contention.

 9

10                                          III. CONCLUSION

11                  Based on the foregoing, the undersigned recommends that respondent’s motion to

12   dismiss (Doc. 392 in the criminal docket) be granted.

13                  These findings and recommendations are submitted to the United States District

14   Judge assigned to the case, pursuant to the provisions of 28 U.S.C. § 636(b)(l). Within 20 days

15   after being served with these findings and recommendations, any party may file written

16   objections with the court. The document should be captioned “Objections to Magistrate Judge's

17   Findings and Recommendations.” Failure to file objections within the specified time may waive

18   the right to appeal. See Martinez v. Ylst, 951 F.2d 1153 (9th Cir. 1991).

19

20    DATED: February 11, 2009
21                                                  ______________________________________
                                                    CRAIG M. KELLISON
22                                                  UNITED STATES MAGISTRATE JUDGE
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